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     Hon. Cheryl Pollak
     United States Magistrate Judge
     United States Courthouse
     Eastern District of NY

     February 8th, 2018

     1:17-cv-01668-ARR-CLP Lopez v. Angelitos Auto Repair Inc

     Your Honor:
             We represent Plaintiff Miguel Lopez in the above-referenced action. At the
     inquest for damages before Your Honor earlier today, we all witnessed Defendant
     trying to intimidate Plaintiff by delivering open threats to call the immigration
     authorities.

     In the elevator on our way down at the Courthouse after the inquest was over, the
     Defendant and his agent very aggressively again told Plaintiff that he was going to
     “Send ICE to his house” for filing a lawsuit against him. Now that Defendants have
     engaged at inquest stage, they have also unfortunately engaged in threat to report my
     client to immigration authorities, should he continue with his wage claims.

              Accordingly, I only briefly write now to ask that the Court permit me to raise,
     on behalf of my client, the possibility of amending his complaint to add a FLSA
     retaliation claim should Defendants or their agents continue to deliver such unlawful
     retaliatory threats in an effort to escape accountability for exploiting Plaintiff in
     violation of federal and state law. See, e.g., Penberg v. Healthbridge Mgmt., No. 08
     CV 1534 CLP, 2010 WL 4286377, at *4 (E.D.N.Y. Oct. 19, 2010) (Stating that post-
     employment threats would dissuade "a reasonable employee" -- i.e., not an actual
     employee who is the subject of the threat-- from seeking redress of rights under
     retaliation provisions).

              We also respectfully ask that Your Honor excuse my client from appearing at
     the March 8th, 2018 conference. The undersigned will bring two witnesses who will
     testify as to Plaintiff’s employment. Plaintiff regretfully appears to be terrified at the
     possibility that Defendants make good on their threats.

                                            Respectfully,

                                                             Lina M. Franco, Esq.
                                                             Attorney for Plaintiff

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